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\X U.S. DISTRICT COURT
. IN THE UNITED STATES DISTRICT CO RTHERN DISTRICT OF TEXAS
cake FOR THE DISTRICT OF TEXAS FILED
DIVISION
JUN 20 2006
Form To Be Used By A Prisoner in Filing a Complaint

 

 

 

Under the Civil Rights Act, 42 U.S.C. § 198 chek USWAISTRICT COURT

Deputy
TEpey Eacewe ath 0boz2/55
Plaintiff's name and ID Number

Dallas County Tail 3-06CV1092- H

Place of Confinement

 

CASE NO.

 

(Clerk will assign the number)

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Defendant’s name and address

CZ a Ss.
Ed aar MCMUllan Dallas Co Shor €f (33 N. Eadustra/ Dallas Te 7526)

Defendant’s name and address

Emetn Llnrkocha Medea SttL Moath Toner Dallas Cb. Jacl.

Defendant’s name and address
(DO NOT USE "ET AL.")

 

 

 

 

INSTRUCTIONS - READ CAREFULLY
NOTICE:

Your complaint is subject to dismissal unless it conforms to these instructions and this form.

1. To start an action you must file an original and one copy of your complaint with the court. You should keep a
copy of the complaint for your own records.

2. Your complaint must be legibly handwritten, in ink, or typewritten. You, the plaintiff, must sign and declare
under penalty of perjury that the facts are correct. If you need additional space, DO NOT USE THE REVERSE
SIDE OR BACK SIDE OF ANY PAGE. ATTACH AN ADDITIONAL BLANK PAGE AND WRITE ON IT.

3. You must file a separate complaint for each claim you have unless the various claims are all related to the same
incident or issue or are all against the same defendant, Rule 18, Federal Rules of Civil Procedure. Make a short and
plain statement of your claim, Rule 8, Federal Rules of Civil Procedure.

4. When these forms are completed, mail the original and one copy to the Clerk of the United States Court for the
appropriate District of Texas in the Division where one or more named defendants are located, or where the incident
giving rise to your claim for relief occurred. The list labeled as ““ VENUE LIST” is posted in your unit law library.
It is a list of the Texas prison units indicating the appropriate District Court, the Division and an address list of the
Divisional Clerks.

 

 
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FILING FEE AND IN FORMA PAUPERIS

1. In order for your complaint to be filed, it must be accompanied by the filing fee of $350.00.

2. Ifyou do not have the necessary funds to pay the filing fee in full at this time, you may request permission to
proceed in forma pauperis. In this event you must complete the application to proceed in forma pauperis (IFP),
setting forth information to establish your inability to prepay the fees and costs or give security therefor. You must
also include a current six (6) month history of your Inmate Trust Account. You can acquire the application to
proceed IFP and appropriate Inmate Account Certificate from the law library at your prison unit.

3. 28 U.S.C. 1915, as amended by the Prison Litigation Reform Act of 1995 (PLRA), provides, “...ifa prisoner
brings a civil action or files an appeal in forma pauperis, the prisoner shall be required to pay the full amount of a
filing fee.” Thus, the Court is required to assess and, when funds exist, collect, the entire filing fee or an initial partial
filing fee and monthly installments until the entire amount of the filing fee has been paid by the prisoner. If you
submit the application to proceed in forma pauperis , the Court will apply 28 U.S.C. 1915 and, if appropriate, assess
and collect the entire filing fee or an initial partial filing fee, then monthly installments from your Inmate Account,
until the entire $350 filing fee has been paid.

4. Ifyou intend to seek in forma pauperis status, then do not send your complaint without an Application to
Proceed IFP, and the Certificate of Inmate Trust Account. Complete all the essential paperwork before submitting
it to the Court.

CHANGE OF ADDRESS

It is your responsibility to inform the Court of any change of address and its effective date. Such notice should
be marked “NOTICE TO THE COURT OF CHANGE OF ADDRESS” and shall not include any motion (s) for
any other relief. Failure to file a NOTICE TO THE COURT OF CHANGE OF ADDRESS may result in the
dismissal of your complaint pursuant to Rule 41 (b), Federal Rules of Civil Procedure.

I. PREVIOUS LAWSUITS:

A. Have you filed any other lawsuits in state or federal court relating to your
imprisonment? __ YES X.NO
B. If your answer to "A" is "yes," describe each lawsuit in the space below. (If there is more than one
lawsuit, describe the additional lawsuits on another piece of paper, giving the same information.)

1. Approximate date of filing lawsuit:

 

2. Parties to previous lawsuit:
Plaintiff(s)
Defendant(s)
Court: (If federal, name the district; if state, name the county.)
Docket Number:

 

 

 

Name of judge to whom case was assigned:

 

NWP w&

Disposition: (Was the case dismissed, appealed, still pending?)

 

7. Approximate date of disposition:

 

 

 
II.

Ill.

IV.

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PLACE OF PRESENT CONFINEMENT: { Y(las Lo Jail

 

EXHAUSTION OF GRIEVANCE PROCEDURES:
Have you exhausted both steps of the grievance procedure in this institution? XxX. YES __NO
Attach a copy of the Step 2 grievance with the response supplied by the prison system.

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PARTIES TO THIS SUIT:

A. Name and address of plaintiff: TEeey GuGENE Batch OLOP MTS
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Dallas Te 7op2o2r-

 

B. Full name of each defendant, his official position, his place of
employment, and his full mailing address.

Defendant #1: Lis pe (Gldez, Dollas Co Sher th
133 Ay-Taduetrial Dellas TX ?F207

Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.

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Defendant #2: FA ga MeMillan Dellse A. Slay LK
(33. N-trdustrial Dallas TC P&227

Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.

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Defendant #3: Emetica DkAko che) YH Floce Medel SaLF.
(83 MN. Drdustrial Dulas Tk 75207

Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.

Defendant #4:

 

 

Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.

 

Defendant #5:

 

 

Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.

 

 
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V. STATEMENT OF CLAIM:

State here in a short and plain statement the facts of your case, that is, what happened, where did it happen,
when did it happen, and who was involved. Describe how each defendant is involved. You need not give any
legal arguments or cite any cases or statutes. If you intend to allege a number of related claims, number and set
forth each claim in a separate paragraph. Attach extra pages if necessary, but remember that the complaint must
be stated briefly and concisely. IF YOU VIOLATE THIS RULE, THE COURT MAY STRIKE YOUR
COMPLAINT.

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VI. RELIEF: State briefly exactly what you want the court to do for you. Make no legal arguments. Cite no cases
or statutes.

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Life, (2c caune & lypken rawr frrture Cong bcc A ony «

VI. GENERAL BACKGROUND INFORMATION:

A. State, in complete form, all names you have ever used or been known by including any and all aliases:

LEtny Eugen Kutch

B. List all TDCJ-ID identification numbers you have ever been assigned and all other state or federal prison
or FBI numbers ever assigned to you, fPknown to you.

 

 

VIN. SANCTIONS:
A. Have you been sanctioned by any court as a result of any lawsuit you have filed? YES x NO
B. If your answer is "yes", pve the following information for every lawsuit in which
sanctions were imposed. (If more than one, use another piece of paper and answer
the same questions.)

1. Court that imposed sanctions (if federal, give the district and division):

 

. Case Number:

2
3. Approximate date sanctions were imposed:
4

. Have the sanctions been lifted or otherwise satisfied? “ph YES NO

 

 
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C. Has any court ever warned or notified you that sanctions could be imposed? YES K NO

D. Ifyour answer is "yes", give the following information for every lawsuit in which
warning was imposed. (If more than one, use another piece of paper and answer
the same questions.)

1. Court that imposed warning (if federal, give the district and division):

 

2. Case Number:

3. Approximate date warnings were imposed:

Executed on: (O7-/ G-Ob EQ LUG EME. Kited

— (Siggature of plaintiff)

 

PLAINTIFF’S DECLARATIONS

1. I declare under penalty of perjury all facts presented in this complaint and attachments thereto are true
and correct.

2. T understand if] am released or transferred, it is my responsibility to keep the Court informed of my current
mailing address and failure to do so may result in the dismissal of this lawsuit.

3. I understand that I must exhaust all available administrative remedies prior to filing this lawsuit.

4. I understand I am prohibited from bringing an in forma pauperis lawsuit if I have brought three or more civil
actions in a Court of the United States while incarcerated or detained in any facility, which lawsuits were
dismissed on the ground they were frivolous, malicious, or failed to state a claim upon which relief may be
granted, unless I am under imminent danger of serious physical injury.

5. I understand even if am allowed to proceed without prepayment of costs, I am responsible for the entire
$350 filing fee and costs assessed by the Court, which shall be deducted in accordance with the law from
my inmate account by my custodian until the filing fee is paid.

Signed this [ 9 day of Que ; goel .

(Day) J (month) (year)

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- (Sighature of plaintiff)

 

 

WARNING: The Plaintiff is hereby advised any false or deliberately misleading information provided in
response to the following questions will result in the imposition of sanctions. The sanctions the Court may
impose include, but are not limited to monetary sanctions and/or the dismissal of this action with prejudice.

 

 
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